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 NOT FOR PUBLICATION

                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

 ____________________________________
 JOHN D. HORTON,                      :
                                      :
                 Plaintiff            :
                                      :
                 v.                   :               Civil Action No. 04-5658 (JAG)
                                      :
                                      :                            OPINION
 ROSS UNIVERSITY SCHOOL OF            :
 MEDICINE, et al.                     :
                                      :
                 Defendants.          :
 ____________________________________:


 GREENAWAY, JR., U.S.D.J.

        This matter comes before the Court on the motion for summary judgment by Defendants

 Ross University School of Medicine (“Ross”), Jorge Rios M.D., and Michelle Fried, and the

 cross-motion for summary judgment by Plaintiff John D. Horton, pursuant to FED . R. CIV . P. 56.

 For the reasons set forth below, Defendants’ motion for summary judgment will be granted in

 part and denied in part, and Plaintiff’s cross-motion for summary judgment will be granted in

 part and denied in part.

                                         BACKGROUND

        In January 2003, Ross advertised for the position of Medical Library Director for its

 medical school located on the Caribbean island of Dominica. (Certification of Kathleen

 Connelly, hereinafter “Connelly Cert.”, Ex. 6.) The advertisement listed the following job

 qualifications:

        (1) A masters degree in library sciences; (2) five to eight years professional
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        experience in an academic research or medical school library setting; (3) three to
        five years experience supervising professional librarians and/or library support;
        and (4) experience with current and development information services in
        academic medicine.

 (Connelly Cert. Ex. 6.)

        In an email dated January 13, 2003, Plaintiff submitted a resume to Ross. (Connelly Cert.

 Ex. 7.) Sometime between January 15 and 21, Dr. Jorge Rios (“Rios”), the Dean of Academic

 Affairs, conducted a telephone interview with Plaintiff and invited him to come to Dominica for

 an in-person interview. (Horton Dep. 30:8-30:20.) Ross University was to pay for all

 arrangements. (Connelly Cert. Ex. 10.) Plaintiff and Rios exchanged several emails regarding

 the logistics of the trip. (Connelly Cert. Ex. 8.) Rios instructed Plaintiff to get in touch with

 Michelle Fried (“Fried”), the travel coordinator, to make the arrangements for the trip. (Id.)

        Fried had several phone and email interactions with Plaintiff to coordinate his trip to

 Dominca. (Connelly Cert. Ex. 10.) On January 27, 2001, Fried sent an email to Rios claiming

 that she had a “bad feeling” about Plaintiff because of his demand that she take him off of the

 speakerphone when they spoke. (Certification of Denise Sawitsch, hereinafter “Sawitsch Cert.”,

 Ex. 1.) In that email, Fried recommended that the interview with Plaintiff be postponed since

 they had two other candidates coming. (Id.) Subsequently, in an email to Fried from Tom Baker

 (“Baker”), a travel agent, also dated January 27, 2001, Baker described his interaction with

 Plaintiff as “odd.” (Sawitsch Cert. Ex. 3.) Fried again contacted Rios about postponing

 Plaintiff’s trip to Dominica and they instructed Baker to cancel the reservations. (Id.)

        On January 31, 2003, one day before the scheduled trip to Dominica, Plaintiff received an

 email from Fried explaining that the trip was postponed due to budgetary constraints, and that the



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 interview would be rescheduled at a future date. (Pl.’s Resp. to Def.’s Interrog. #7.) Plaintiff

 claims that Fried pressured Rios into canceling the interview because she did not want a Hispanic

 male over the age of forty working for the university. (Horton Aff. ¶¶ 4–5.)

        During the month of January 2003, Plaintiff withdrew his application for employment at

 Renton Technical College (“Renton”), which had offered him an interview for a job at

 comparable pay. (Horton Dep. 35:23-36:1.) Plaintiff claims that he cancelled his visit to Renton

 in reliance on the pending interview with Ross. (Id. at 35:18-36:1.) After Ross postponed

 Plaintiff’s scheduled trip to Dominica, Plaintiff began working for Veteran’s Health

 Administration Medical Center Library in February 2003. (Sawitsch Cert. Ex. 4.)

        On February 18, 2003, Plaintiff emailed a revised resume to Ross for the Medical Library

 Director’s position. (Connelly Cert. Ex. 13.) The position for Medical Library Director was

 reposted on April 7, 2003. (Connelly Cert. Ex. 2.) On April 9, 2003, Plaintiff again sent his

 revised resume to Ross’s Vice President of Human Resources, Christine Holmberg

 (“Holmberg”). (Sawitsch Cert. Ex. 4.) Plaintiff sent yet another revised resume on August 14,

 2003. (Connelly Cert. Ex. 14.) Plaintiff then sent an email to Ross on August 18, 2003,

 inquiring about rescheduling the interview and asking for Rios’s personal email address.

 (Sawitsch. Cert. Ex. 5.)

        On August 19, 2003, Plaintiff visited the offices of Dominica Management and Ross

 University in Edison, New Jersey, asking to speak to Rios. (Sawitsch Cert. ¶ 3.) When Plaintiff

 was informed that Rios resided in Dominica, he allegedly began to yell at the receptionist. (Id.)

 Plaintiff was given Rios’s email address and asked to leave the premises. (Id.) Plaintiff again

 visited the Edison office on August 25, 2003, asking to speak with Holmberg. (Sawitsch Cert. ¶


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 5.) After Plaintiff was advised that Holmberg was not available, he allegedly began yelling at the

 receptionist, refusing to leave until he met with Holmberg. (Id.) Plaintiff was asked to leave the

 premises several times and was threatened with arrest. (Id.) Plaintiff claims that “because he

 was an [sic] Hispanic minority male over age forty (40), [he] was threatened with being lynched

 by the defendant’s Gestapo/Security Unit if he did not stop bothering the lily white females at the

 defendant’s Edison office.” (Pl. Compl. ¶ 6.)

        On August 25, 2003, Holmberg sent Plaintiff a letter advising him that he was no longer

 being considered for the position of Medical Librarian at Ross University. (Sawitsch Cert. Ex.

 9.) Plaintiff was also sent a letter on the same day notifying him that he was not welcome on

 Ross’ premises due to his discourteous behavior during his unscheduled visits to the Edison

 office. (Sawitsch Cert. Ex. 10.)

        On January 10, 2004, Ross University hired Marilyn B. Sullivan (“Sullivan”) for the

 position of Medical Library Director. (Sawitsch Cert. ¶ 7.) Sullivan had twenty-five years of

 experience in the medical library field and served as the chief of the health sciences libraries at

 the University of Missouri-Kansas City from 1983 to 1997. (Sawitsch Cert. Ex. 11.) At the time

 of her hire, Sullivan was seventy-three years of age.

                                        LEGAL STANDARD

 I.     Summary Judgment

        Summary judgment is appropriate where the moving party establishes that “there is no

 genuine issue as to any material fact and that [it] is entitled to a judgment as a matter of law.”

 Fed. R. Civ. P. 56(c). See Abramson v. William Patterson Coll. of N.J., 260 F.3d 265, 276 (3d

 Cir. 2001).


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        FED . R. CIV . P. 56(c) provides, in relevant part:

        “[t]he judgment sought shall be rendered fortwith if the pleadings, depositions,
        answers to interrogatories, and admissions on file, together with the affidavits, if
        any, show that there is no genuine issue as to any material fact and that the
        moving party is entitled to a judgment as a matter of law.”

        A factual dispute between parties will not defeat a motion for summary judgment unless

 it is both genuine and material. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48

 (1986); Krescholiek v. Southern Stevedoring Co., 223 F.3d 202, 204 (3d Cir. 2000). A factual

 dispute is genuine if a reasonable jury could return a verdict for the non-movant, and it is

 material if, under the substantive law, it would affect the outcome of the suit. See Anderson, 477

 U.S. at 248. The moving party “cannot simply reallege factually unsupported allegations

 contained in his pleadings.” Clark v. Clabaugh, 20 F.3d 1290, 1294 (3d Cir. 1994). The moving

 party must show that if the evidentiary material of record were reduced to admissible evidence in

 court, it would be insufficient to permit the non-moving party to carry its burden of proof. See

 Celotex v. Catrett, 477 U.S. 317, 318 (1986); Blackburn v. United Parcel Serv. Inc., 179 F.3d 81

 (3d Cir. 1999).

        Once the moving party has carried its burden under Rule 56, “its opponent must do more

 than simply show that there is some metaphysical doubt as to the material facts in question.”

 Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). The opposing

 party must set forth specific facts showing a genuine issue for trial and may not rest upon the

 mere allegations or denials of its pleadings. See Sound Ship Bldg. Co. v. Bethlehem Steel Co.,

 533 F.2d 96, 99 (3d Cir. 1976), cert. denied, 429 U.S. 860 (1976). At the summary judgment

 stage, the court’s function is not to weigh the evidence and determine the truth of the matter, but



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 rather to determine whether there is a genuine issue for trial. See Anderson, 477 U.S. at 249. In

 doing so, the court must construe the facts and inferences in the light most favorable to the

 non-moving party. See Wahl v. Rexnord Inc., 624 F.2d 1169, 1181 (3d Cir. 1980); Boyle v.

 Allegheny Pa., 139 F.3d 386, 393 (3d Cir. 1998). The court must award summary judgment on

 all claims unless the non-moving party shows through affidavits or admissible evidence that an

 issue of material fact remains. See, e.g., Koch Materials Co. v. Shore Slurry Seal, Inc., 205 F.

 Supp. 2d 324, 330 (D.N.J. 2002).

 II.    Employment Discrimination: Disparate Treatment Claims

        All disparate treatment claims for employment discrimination under federal law are

 analyzed by application of the McDonnell Douglas test:

        The Court in McDonnell Douglas set forth a burden-shifting scheme for
        discriminatory-treatment cases. Under McDonnell Douglas, a plaintiff must first
        establish a prima facie case of discrimination. The burden then shifts to the
        employer to articulate a legitimate, nondiscriminatory reason for its employment
        action. If the employer meets this burden, the presumption of intentional
        discrimination disappears, but the plaintiff can still prove disparate treatment by,
        for instance, offering evidence demonstrating that the employer’s explanation is
        pretextual. The Courts of Appeals have consistently utilized this burden-shifting
        approach when reviewing motions for summary judgment in disparate-treatment
        cases.

 Raytheon Co. v. Hernandez, 540 U.S. 44, 50 (2003) (citation omitted).




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                                           DISCUSSION

 I.     Defendants’ Motion For Summary Judgment

        Defendants move for summary judgment on all claims brought by Plaintiff. Defendants

 assert entitlement to judgment as a matter of law on Plaintiff’s Title VII claim, his ADEA claim,

 his breach of contract claim, his fraudulent concealment claim, his fraudulent inducement claim,

 and his tortious interference with business relations claim.

        A.      Title VII and ADEA claims

        Defendants argue that, for both the Title VII and the ADEA claims, Plaintiff has not

 established a prima facie case. Alternatively, Defendants argue that Plaintiff cannot rebut the

 legitimate, nondiscriminatory reasons proffered by Defendants.

                1.      McDonnell Douglas Step 1: Prima Facie Case

        “The burden of establishing a prima facie case of disparate treatment is not onerous.”

 Tex. Dep’t of Cmty. Affairs v. Burdine, 450 U.S. 248, 253 (1981). While McDonnell Douglas

 specifically addressed a case of hiring discrimination,

        [t]he importance of McDonnell Douglas lies, not in its specification of the discrete
        elements of proof there required, but in its recognition of the general principle that
        any Title VII plaintiff must carry the initial burden of offering evidence adequate
        to create an inference that the employment decision was based on a discriminatory
        criterion illegal under the Act.

 Int’l Bhd. of Teamsters v. United States, 431 U.S. 324, 358 (1977).

        To establish a prima facie case in a Title VII employment discrimination claim, Plaintiff

 must show that: 1) he is a member of a protected class; 2) he applied and was qualified for the

 position; 3) he was rejected despite having adequate qualifications; and 4) the position was

 ultimately filled by a person not of the protected class. Sheridan v. E.I. Dupont de Nemours &


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 Co., 100 F.3d 1061, 1066 (3d Cir. 1996).

                        a.      Member of a Protected Class under Title VII

        Ross asserts that Plaintiff has not met the first element of the prima facie case because he

 is not a member of a protected class under Title VII, since Plaintiff is only one quarter Hispanic

 and he does not outwardly appear Hispanic. Ross bases its argument on the holding of Martinez

 v. Hazelton Research Animals, Inc., 430 F. Supp. 186, 187-88 (D. Md. 1977), which holds that a

 mere allegation that the plaintiff is Hispanic, without more, is insufficient to sustain a claim for

 discrimination on account of race under 42 U.S.C. § 1981. The Third Circuit, however, relies on

 the Equal Employment Opportunity Commission’s (EEOC) interpretation of Title VII, which

 concludes that a lack of standing under § 1981 does not imply a lack of protection under Title

 VII. Bennun v. Rutgers State Univ., 941 F.2d 154, 172 (3d Cir. 1991) (citing 29 C.F.R. § 1606.1

 (1990)). Thus, Martinez is inapplicable.

        In Bennun, the Court found that because Bennun’s father traced his ancestry to Spain, he

 met the dictionary definition of Hispanic. Bennun, 941 F.2d at 172-73. Plaintiff here claims that

 he is Hispanic because his mother was half-Mexican. As in Bennun, Plaintiff has Hispanic

 ancestry.

        However, Bennun also establishes that “unlawful discrimination must be based on [one’s]

 objective appearance to others, not his subjective feeling about his own identity.” Id. at 173. In

 this case, Defendants assert that Plaintiff does not appear to be Hispanic because he is “not dark

 skinned nor a ‘colored male’ and because Plaintiff speaks English very articulately and does not

 speak with an accent of an [sic] Hispanic male.” (Certification of Paul Mazer, ¶¶ 2-4.) Bennun,

 however, did not rely on physical appearance, but on mannerisms, spoken language, and the fact


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 that Bennun held himself out to the world as Hispanic. Bennun, 941 F.2d at 173. The record in

 this case shows that Plaintiff held himself out to the world as Hispanic by circulating a resume

 that states that he is a Hispanic male over the age of forty. (Connelly Cert. Ex. 7.)

        While the question of whether Plaintiff qualifies as a member of a protected class is a

 difficult one, resolution of the claim of discrimination under Title VII does not turn on its

 answer. Even if this Court determined that Plaintiff is a member of a class protected under Title

 VII, and that Plaintiff has made out a prima facie case, Plaintiff’s claim fails at the third step of

 the McDonnell Douglas analysis, as will be discussed further below.

                        b.      Plaintiff Applied and Was Qualified For the Position

        In a determination of one’s qualifications for a job in a Title VII case, the court considers

 the plaintiff’s objective job qualifications. Weldon v. Kraft, 896 F.2d 793, 798 (3d Cir. 1990).

 The court attempts to compare the qualifications of the alleged victim of discrimination to the

 individual who was awarded the position. Bennun, 941 F.2d at 176.

        Defendants assert that Plaintiff cannot establish a prima facie case under Title VII

 because he was not qualified for the position. Defendants point to the disparity between

 Plaintiff’s experience, as shown on his resume, and those qualifications sought out by Ross in the

 advertisement. Defendants also compare the qualifications of Plaintiff to those of Sullivan, who

 was ultimately hired for the position.

        The record, however, demonstrates that Plaintiff was qualified enough to be invited to

 Dominica for an in-person job interview with Rios. Moreover, in an email from Rios to Fried,

 dated January 27, 2003, Rios stated “I am used to deal [sic] with very different people and

 indeed he has the most experienced CV.” (Sawitsch Cert. Ex. 1.) Thus, it appears that


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 Defendants acknowledged Plaintiff as adequately qualified for the job during the interview

 process.

                       c.      Third and Fourth Elements of Prima Facie Case

        As to the third prong of the Title VII prima facie case, the record shows that Plaintiff was

 rejected despite having adequate qualifications, since his interview was cancelled one day prior

 to his scheduled visit. Plaintiff was also sent a letter by Holmberg in August 2003, explaining

 that he would no longer be considered for the job. As to the fourth prong, Ross has not claimed

 that the successful applicant, Sullivan, was a member of the protected class. Plaintiff has met the

 third and fourth elements of a prima facie case for discrimination under Title VII.

                2.      McDonnell Douglas Step 2: The Employer’s Response

        If Plaintiff can establish a prima facie case of discrimination, the burden shifts to the

 employer to articulate a legitimate, nondiscriminatory reason for its employment action. Ross

 meets this burden by providing three such reasons: 1) Plaintiff’s resume demonstrates undesired

 work patterns and practices; 2) Plaintiff had insufficient medical library experience; and 3)

 Plaintiff’s “odd” behavior over the telephone, and in person, led Ross to terminate the

 consideration of Plaintiff for employment. All of these reasons constitute legitimate reasons for

 discontinuing consideration of Plaintiff for employment.

        The record shows that Plaintiff had undesirable work patterns and practices because he

 did not hold job positions for any significant amount of time. Plaintiff’s resume shows that he

 worked a total of four months at the United States Military Academy Library, eight months at the

 20th Medical Group & Base Library, seven months at the Huron University Library, and eleven

 months at the Society of St. Pius X Library. (Sawitsch Cert. Ex. 4.) All of these jobs were held


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 in the period between 1997 and 2002. Id. Indeed, Holmberg, the Vice President of Human

 Resources for Ross, read Plaintiff’s resume and wrote in her notes that he “moved positions

 frequently.” Id.

        The record in this case also supports the second proffered reason: Plaintiff lacked medical

 library experience. The extent of medical library experience in Plaintiff’s resume amounts to two

 months as Library Technician at Veteran’s Health Administration Medical Center Library, and

 eight months as the Director of Medical Resource Center & Library at 20th Medical Group &

 Base Hospital. (Sawitsch Cert. Ex. 4.) Plaintiff did not possess enough medical library

 experience to satisfy the requirements of five to eight years of professional experience in a

 medical school setting or three to five years of experience supervising professional librarians, as

 stated in the Ross advertisement. (Connelly Cert. Ex. 6.) Indeed, Holmberg remarked in her

 notes that Plaintiff did not have enough medical library experience. (Sawitsch Cert. Ex. 4.)

        The third reason proffered by Defendants is that numerous interactions with Plaintiff,

 both over the telephone and in person, led Ross personnel to characterize Plaintiff as “odd” and

 to feel serious discomfort with his behavior. The record indicates that several Ross employees

 felt that Plaintiff was “odd” and had been discourteous to them. This ultimately led to

 Defendants ending consideration of Plaintiff for employment and giving notice to him that he

 was unwelcome on Ross’ premises. (Sawitsch Cert. ¶ 6.) Contrary to Plaintiff’s assertions, it

 was not only Fried who commented on Plaintiff’s behavior (Pl. Compl. ¶ 11); Baker, the travel

 agent, independently described his interaction with Plaintiff as “odd.” (Sawitsch Cert. Ex. 3.)

 Denise Sawitsch, the Director of Human Resources, wrote to Rios and described Plaintiff’s

 discourteous behavior towards both the receptionist and herself. (Sawitsch Cert. ¶¶ 3 – 5.) After


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 receiving a questionable email from Plaintiff on August 20, 2003, Rios wrote an email to

 Holmberg implying that Plaintiff was in need of a therapist. (Sawitsch Cert. Ex. 8.) Thus,

 Defendants have stated that Plaintiff’s undesired work patterns, his lack of qualifications, and his

 behavior towards Ross personnel are the legitimate, non-discriminatory reasons that led to the

 termination of consideration of Plaintiff for the job.

                3.      McDonnell Douglas Step 3: Demonstrating Pretext

        At the third step of the McDonnell Douglas analysis, the burden shifts back to the

 Plaintiff to show that the reasons articulated by Ross are not the true reasons, but rather a pretext

 for discrimination. “[A] plaintiff may survive summary judgment by submitting evidence from

 which a fact finder could reasonably either (1) disbelieve the employer’s articulated legitimate

 reasons; or (2) believe that an invidious discriminatory reason was more likely than not a

 motivating or determinative cause of the employer’s action.” Stanziale v. Jargowsky, 200 F.3d

 101, 105 (3d Cir. 2000). “This burden now merges with the ultimate burden of persuading the

 court that [he] has been the victim of intentional discrimination. [He] may succeed in this either

 directly by persuading the court that a discriminatory reason more likely motivated that employer

 or indirectly by showing that the employer’s proffered explanation is unworthy of credence.”

 Tex. Dep’t of Cmty. Affairs v. Burdine, 450 U.S. at 256.

        Plaintiff fails to show that the reasons proffered by Ross are pretextual. Plaintiff has

 submitted no evidence to show racial discrimination other than his personal affidavit contending

 that his rejection for the position at Ross was due to his race and age. The speculative and

 unsupported allegations of Plaintiff alone are not enough to survive a motion for summary

 judgment. See Ditze v. U.M.D.N.J., 962 F. Supp. 595, 606 (D.N.J. 1997) (granting summary


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 judgment to defendant where plaintiff’s proofs consisted of nothing more than his vague

 perception that his supervisor became “cool” towards him after he disclosed his medical

 condition).

        Plaintiff alleges that when Ross cancelled the interview, citing budget constraints, Ross

 was lying and thus engaged in discriminatory conduct. However, Plaintiff has provided no

 evidence to show that the claim of lack of funding was untrue, nor does he provide evidence to

 show that the cancellation of his interview was due to something other than his “odd”

 interactions with Ross employees.

        Furthermore, Plaintiff alleges that he would have been treated differently in the

 application and interview process had he been a similarly situated white female, under the age of

 forty. Plaintiff points to no evidence to support this claim.

        Plaintiff also alleges that Fried single-handedly pressured Rios into canceling his

 interview because she did not want a Hispanic male over the age of forty hired by Ross. Again,

 Plaintiff provides no evidence to support this claim. Additionally, Baker, Rios, Holmberg, and

 Sawitsch all expressed concern about Plaintiff’s candidacy and it appears that all played a hand

 in the termination of the consideration of Plaintiff for employment.

        Even if this court were to conclude that Plaintiff did make out a prima facie case of

 discrimination under Title VII, Plaintiff has failed to carry his burden of showing, at Step 3 of

 the McDonnell Douglas test, that Ross’s explanation for the termination of his candidacy is a

 pretext for race discrimination. “[T]o avoid summary judgment, the plaintiff’s evidence

 rebutting the employer’s proffered legitimate reasons must allow a fact finder reasonably to infer

 that each of the employer’s proffered non-discriminatory reasons was either a post hoc


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 fabrication or otherwise did not actually motivate the employment action (that is, the proffered

 reason is a pretext).” Fuentes v. Perskie, 32 F.3d 759, 764 (3d Cir. 1994) (citation omitted).

 Plaintiff has not done so.

        This Court finds no genuine issue as to any material facts, and that Defendants have

 shown that they are entitled to judgment as a matter of law. Defendants’ motion for summary

 judgment on the Title VII claim will be granted.

                4.      Plaintiff Cannot Establish a Prima Facie Case Under the ADEA

        Under the ADEA, the elements to establish a prima facie case are nearly identical to the

 Title VII standard, except for a modified fourth prong: the individual who receives the job must

 be “sufficiently younger” than the person alleging the age discrimination. Monaco v. Am. Gen.

 Assurance Co., 359 F.3d 296, 303-04 (3d Cir. 2004). In this case, Plaintiff is a member of the

 protected class because he is forty years of age. As previously discussed, Plaintiff meets the

 second and third prongs of the test because he was qualified for the job and was ultimately

 rejected despite adequate qualifications. The failing point for Plaintiff, however, is the fourth

 prong. Defendants did not ultimately hire someone “substantially younger” than Plaintiff.

 Rather, Ross hired someone substantially older: Sullivan was seventy-three at the time she was

 hired by Ross. Plaintiff has failed to make out a prima facie case under the ADEA. Defendants’

 motion for summary judgment on the claim for age discrimination will be granted.

        B.      UCC and Breach of Contract Claims

        Plaintiff alleges that Ross’s cancellation of the in-person interview was a breach of

 contract under “common law, statutes, and the Uniform Commercial Code of New Jersey.” (Pl.

 Compl. ¶ 8.)


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        “A contract arises from the manifest intentions of the parties to engage in an offer and

 acceptance of sufficiently definite essential terms.” Weichert Co. Realtors v. Ryan, 128 N.J. 427,

 435 (1992). To be enforceable, a contract must also be accompanied by consideration. Friedman

 v. Tappan Dev. Corp., 22 N.J. 523, 533 (1956). In essence, both parties must “get something”

 out the arrangement. Oscar v. Simeonidis, 352 N.J. Super. 476 (N.J. Super. Ct. App. Div. 2002).

 “In bilateral contracts or agreements, such as the one in the case at hand, where the parties make

 mutual promises to do some future act, ‘the consideration of the promise of one party is a

 promise on the part of the other.’” Friedman, 22 N.J. at 533.

        The record shows that Ross made an offer to Plaintiff to come to Dominica for an

 interview and Plaintiff promised to come for the interview. Thus, under established contract

 principles, Plaintiff has shown that a contract was formed. Plaintiff has also shown that the

 contract was breached, since Ross cancelled the trip one day prior to Plaintiff’s departure for

 Dominica.

        Plaintiff has not, however, asked this Court for any specific remedy for the breach of

 contract. Plaintiff’s Complaint seeks only “all just and equitable relief.” (Pl. Compl. ¶ 6.) Nor

 does Plaintiff’s cross-motion ask for any other remedy: there is no request for specific

 performance nor even an allegation of damages. In the absence of evidence of damages, Plaintiff

 has not established that he suffered any damages from the breach of contract.

        Further, this Court shall not speculate about what damage might have resulted from the

 breach. “Damages claimed in a breach of contract action must be reasonably certain and not

 speculative.” Prozel & Steigman v. Int'l Fruit Distrib., 171 F. Supp. 196, 200 (D.N.J. 1959).

 “Anticipated profits that are remote, uncertain or speculative . . . are not recoverable.” Perth


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 Amboy Iron Works v. Am. Home Assurance Co., 226 N.J. Super. 200, 224 (N.J. Super. Ct. App.

 Div. 1988). There is no evidence in the record that Plaintiff purchased tickets, reserved hotel

 rooms, or spent any money in preparation for the trip to Dominica.

        The record indicates that around the time of the scheduled Ross interview, Plaintiff did

 have an invitation to interview with Renton, which he declined. (Connelly Cert. Ex. 12.)

 However, the mere prospect of an interview for another job is not enough to entitle Plaintiff to

 damages: it is entirely speculative to assert that, were it not for Ross’s breach, Plaintiff would

 have had employment with Renton. Furthermore, Plaintiff began a different job with the

 Veteran’s Administration in the month following the cancellation of the interview. Thus,

 Plaintiff has failed to ask for damages, to articulate allegations of damage, and to present

 evidence of damage. Lastly, no damage is apparent.

        This Court finds a breach of contract, but no evidence of damage from the breach.

 Plaintiff’s motion for summary judgment on the claim for breach of contract will be granted, and

 Plaintiff is awarded zero damages.

        Plaintiff also asserts that under the Uniform Commercial Code of New Jersey (“NJ

 UCC”), Ross breached its contract with him to interview for the position of Library Director.

 This claim is without merit because employment contracts are not within the scope of the NJ

 UCC. N.J. Stat. Ann. § 12A: Ch. 1-10.1


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            The NJ UCC states:

                 (1) This Act shall be liberally construed and applied to promote its
                 underlying purposes and policies.
                 (2) Underlying purposes and policies of this Act are
                        (a) to simplify, clarify and modernize the law governing
                        commercial transactions;

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        C.      Fraudulent Concealment Claim

        In the claim for fraudulent concealment, Plaintiff alleges that Ross failed to “properly,

 adequately, and timely disclose its decision to breach the contract.” (Pl. Compl. ¶ 9.) A

 successful fraudulent concealment claim depends on Plaintiff suffering damages due to the non-

 disclosure of some material fact by Ross. Plaintiff does not state a cognizable claim for

 fraudulent concealment, no less provide any evidence for such a claim. Rather, Plaintiff has

 made a vague and conclusory allegation.

        To prevail in a case of fraud, Plaintiff must establish: 1) a material misrepresentation of a

 presently existing or past fact; 2) knowledge of the falsity by the person making the

 misrepresentation; 3) intent that the misrepresentation will be relied upon; 4) reliance on the

 misrepresentation; and 5) resulting damages. Napp v. Anschelewitz, Barr, Ansell & Bonnello,

 97 N.J. 37, 51-52 (1984). Accordingly, fraudulent concealment occurs when one party fails to

 disclose a material fact to another party, in the face of a duty to disclose that fact, thereby causing

 damages. See N.J. Econ. Dev. Auth. v. Pavonia, 319 N.J. Super 435, 446 (N.J. Super. Ct. App.

 Div. 1981) (citation omitted) (stating that “the concealed facts ‘must be facts which if known . . .

 would have prevented [the obligor] from obligating himself, or which materially increase his

 responsibility’”).



                        (b) to permit the continued expansion of commercial
                        practices through custom, usage and agreement of the
                        parties;
                        (c) to make uniform the law among the various
                        jurisdictions.

        N.J. Stat. Ann. § 12A:12-4(1), (2).


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        Plaintiff has not alleged or offered any evidence of elements one through five in his claim

 for fraudulent concealment. Plaintiff also provides no evidence to support his vague and

 conclusory allegation that Ross did not disclose to him the cancellation of the trip, nor does he

 provide evidence of damages from the cancellation of the trip. In fact, Plaintiff provides

 evidence to the contrary by stating that he was informed of the cancellation of the trip to

 Dominica by an email from Fried on January 31, 2003, one day prior to the trip. (Pl. Compl. ¶

 4.) Additionally, as discussed previously in the Breach of Contract Claim, Plaintiff has not

 established that he suffered any damages as a result of the cancellation of the trip. Plaintiff has

 failed to show that any genuine issues as to material facts exist which preclude judgment as a

 matter of law. Defendants’ motion for summary judgment shall be granted.

        D.      Fraudulent Inducement Claim

        As to the claim of fraudulent inducement, Plaintiff alleges that Ross fraudulently induced

 him into relying on the Ross invitation to interview, causing him to decline his offer for an

 interview for the position as Library Director at Renton. (Pl. Compl. ¶ 10.) Plaintiff, however,

 does not articulate an argument, nor offer any evidence, in support of this claim.

        As previously mentioned, to prevail in a case of fraud, Plaintiff must establish: 1) a

 material misrepresentation of a presently existing or past fact; 2) knowledge of the falsity by the

 person making the misrepresentation; 3) intent that the misrepresentation will be relied upon; 4)

 reliance on the misrepresentation; and 5) resulting damages. Napp v. Anschelewitz, Barr, Ansell

 & Bonello, 97 N.J. at 51-52. Additionally, “[f]raud requires clear and convincing proof.” Fox v.

 Mercedes-Benz Credit Corp., 281 N.J. Super. 476, 484 (N.J. Super. Ct. App. Div.1995). Thus,

 in a case of fraudulent inducement, a plaintiff must convincingly show that there was an


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 intentional material misrepresentation of fact and that the plaintiff reasonably relied on that fact

 to his detriment. See McConkey v. AON Corp., 354 N.J. Super. 25, 49 (N.J. Super. Ct. App.

 Div. 2002) (finding that defendant misrepresented the status of its company and that plaintiff

 reasonably relied on the information as an inducement to leave his former employer to work for

 defendant).

        Plaintiff has not sufficiently alleged the elements of fraud, no less presented any evidence

 of fraudulent inducement. The record shows that there was no “material misrepresentation of a

 presently existing or past fact,” because Ross did make the arrangements for Plaintiff to come to

 Dominica and cancelled the reservations prior to the trip. (Sawitsch Cert. Ex. 3.) Plaintiff has

 provided no evidence to show that the promise of the trip was a misrepresentation, and the record

 indicates that at the time the promise was made, it was in fact the truth. Accordingly, regarding

 the second element, there is no evidence in the record to show that if indeed the promise of the

 trip to Dominica was a misrepresentation, that Ross knowingly made a misrepresentation. The

 record indicates that Ross fully intended to have Plaintiff come to Dominica for the interview

 until Defendants became concerned about Plaintiff’s behavior on the telephone. Thus, Plaintiff

 has not brought forth evidence that creates a genuine issue as to a material fact of whether Ross

 knowingly made a misrepresentation about the promised trip to Dominica.

        As to the third element, the record shows that Ross did intend for Plaintiff to rely on its

 promise of the trip to Dominica because Rios wanted Plaintiff to interview as soon as possible.

 (Sawitsch Cert. Ex. 1.) However, as to the reasonableness of Plaintiff’s reliance on the promise,

 Plaintiff relied on the promise of the trip to Dominica for a job interview as if it were an actual

 job offer. This type of reliance was unreasonable. Plaintiff stated in his deposition that “at the


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 time, the Dominica position looked so promising that I was trying to put all my eggs in that

 basket,” and “I felt that the Dominica position was in the bag.” (Horton Dep. 36:4-36:6, 36:23-

 36:24.) However, Plaintiff acknowledged that Rios did not offer him the medical library

 director’s position nor did he have the authority to do so. (Id. at 64:17-65:1.) Thus, Plaintiff has

 not presented evidence to create a genuine issue as to any material fact regarding his fraudulent

 inducement claim. Therefore, Defendants are entitled to summary judgment as a matter of law.

        E.      Tortious Interference Claim

        Plaintiff asserts that Fried tortiously interfered with his contractual and business

 relationship with Ross. (Pl. Compl. ¶ 11.) “The tort of interference with a business relation or

 contract contains four elements: (1) a protected interest; (2) malice--that is, defendant's

 intentional interference without justification; (3) a reasonable likelihood that the interference

 caused the loss of the prospective gain; and (4) resulting damages.” MacDougall v. Weichert,

 144 N.J. 380, 404 (1996). Such claims can only be brought against a third-party interloper who

 tortiously interfered with the business relationship. Sandler v. Lawn-A-Mat Chem. and Equip.

 Corp., 141 N.J. Super. 437 (N.J. Super. Ct. App. Div. 1976).

        Co-employees of a party to an employment relationship cannot be held liable for

 interference when acting within the scope of their employment because, under these

 circumstances, they are not “interlopers” or “third parties” to the employment relationship. See

 DiMaria Const., Inc. v. Interarch, 351 N.J. Super. 558, 561 (N.J. Super. Ct. App. Div. 2001)

 (citation omitted) (stating that “[i]f an employee or agent is acting on behalf of his or her

 employer or principal, then no action for tortious interference with a business relationship or

 contract will lie”). The record shows that Fried communicated with Rios about Plaintiff as part


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 of her job. She was responsible for scheduling his trip and thus had reason to communicate

 directly with Plaintiff and to share with Rios any concerns she had about her interactions with

 Plaintiff. As such, Plaintiff has not created a genuine issue as to any material fact in his tortious

 interference claim against Fried. Summary judgment is granted to Defendants as a matter of law.

 II.    Plaintiff’s Motion for Summary Judgment

        Plaintiff cross-moved for summary judgment on all issues. For the reasons set forth

 above, Plaintiff’s motion for summary judgment will be granted, only as to the breach of contract

 claim. Plaintiff will be awarded zero damages. Plaintiff’s motion for summary judgment as to

 the remaining claims is denied for the reasons set forth above. Furthermore, Plaintiff’s motion

 for assignment of counsel is denied as moot, since the case has been resolved on summary

 judgment. 2

                                           CONCLUSION

        For the reasons stated above, Defendants’ motion for summary judgment is denied, as to



        2
          Counsel may be appointed to a civil litigant pursuant to 28 U.S.C. § 1915(e). The
 assignment of Counsel is within the sound discretion of the Court based on the Court’s
 determination that the plaintiff’s claim has “some merit in fact and law,” and the Court considers
 the following factors:

        (1) the plaintiff’s ability to present his her own case; (2) the complexity of the
        legal issues; (3) the degree to which factual investigation will be necessary and the
        ability of the plaintiff to pursue such investigation; (4) the amount a case is likely
        to turn on credibility determinations; (5) whether the case will require the
        testimony of expert witnesses; (6) whether the plaintiff can attain and afford
        counsel on his own behalf.”

 Parham v. Johnson, 126 F.3d 454, 457 (3d Cir. 1997) (citing Tabron v. Grace, 6 F.3d 147, 155-
 56, 157 n.5 (3d Cir. 1993))
         Here, Plaintiff’s claims fail to survive Defendants’ summary judgment, therefore a
 detailed analysis of the Parham factors is not necessary.

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 the claim for breach of contract. Defendants’ motion for summary judgment is granted, as to all

 claims other than the claim for breach of contract. Plaintiff’s cross-motion for summary

 judgment is granted, as to the claim for breach of contract, and Plaintiff is awarded damages in

 the amount of $0.00. Plaintiff’s cross-motion for summary judgment is denied, as to all claims

 other than the claim for breach of contract. Plaintiff’s motion for assignment of counsel is

 denied as moot.



                                               S/Joseph A. Greenaway, Jr.
                                              JOSEPH A. GREENAWAY, JR., U.S.D.J.

 Dated: March 30, 2006




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